                      Case 3:19-cv-01415-AC                 Document 3        Filed 09/06/19      Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                    __________      of Oregon
                                                               District of __________

                                                                    )
                                                                    )
                     Jessica Rogers-Hall                            )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 3:19-cv-01415-AC
                                                                    )
                                                                    )
 Douglas Cloutier, Ms. Montgomery, John/Jane Doe                    )
        Security Staff, and State of Oregon                         )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Douglas Cloutier
                                           Oregon Department of Corrections
                                           2575 Center St. NE
                                           Salem, OR 97301-4667




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michelle R Burrows
                                           Law Office of Michelle R Burrows
                                           1333 NE Orenco Station Pkwy Ste 525
                                           Hillsboro, OR 97124



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date: 09/06/2019                                                              By: s/R. Schlatter, Deputy Clerk
                                                                                         Signature of Clerk or Deputy Clerk
                      Case 3:19-cv-01415-AC                 Document 3        Filed 09/06/19      Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                    __________      of Oregon
                                                               District of __________

                                                                    )
                                                                    )
                     Jessica Rogers-Hall                            )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.3:19-cv-01415-AC
                                                                    )
                                                                    )
 Douglas Cloutier, Ms. Montgomery, John/Jane Doe                    )
        Security Staff, and State of Oregon                         )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ms. Montgomery
                                           Oregon Department of Corrections
                                           2575 Center St. NE
                                           Salem, OR 97301-4667




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michelle R Burrows
                                           Law Office of Michelle R Burrows
                                           1333 NE Orenco Station Pkwy Ste 525
                                           Hillsboro, OR 97124



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date: 09/06/2019                                                              By: s/R. Schlatter, Deputy Clerk
                                                                                         Signature of Clerk or Deputy Clerk
                      Case 3:19-cv-01415-AC                Document 3       Filed 09/06/19      Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                   __________      of Oregon
                                                              District of __________

                                                                    )
                                                                    )
                     Jessica Rogers-Hall                            )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.3:19-cv-01415-AC
                                                                    )
                                                                    )
 Douglas Cloutier, Ms. Montgomery, John/Jane Doe                    )
        Security Staff, and State of Oregon                         )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) State of Oregon
                                           c/o Risk Management
                                           PO Box 12009
                                           Salem, OR 97309




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michelle R Burrows
                                           Law Office of Michelle R Burrows
                                           1333 NE Orenco Station Pkwy Ste 525
                                           Hillsboro, OR 97124



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date: 09/06/2019                                                           By: s/R. Schlatter, Deputy Clerk
                                                                                       Signature of Clerk or Deputy Clerk
